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                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                               December 02, 2024
                       FOR THE SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                HOUSTON DIVISION

IN RE:                              §
                                    §                      CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                      CHAPTER 7
                                    §
        Debtor.                     §
                                    §
JOHN QUINLAN, OMAR KHAWAJA          §
AND OSAMA ABDULLATIF,               §
                                    §
        Plaintiffs,                 §
                                    §
VS.                                 §                      ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC,     §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI          §
CHOUDHRI, SHEPHERD-HULDY            §
DEVELOPMENT I, LLC, SHEPHERD-       §
HULDY DEVELOPMENT II, LLC,          §
GALLERIA LOOP NOTE HOLDER LLC, §
MOUNTAIN BUSINESS CENTER, LLC, §
RANDY W WILLIAMS CH7 TRUSTEE,       §
OTISCO RDX LLC, MCITBE, LLC,        §
JETALL/CROIX PROPERTIES LP,         §
AND JETALL/CROIX GP, LLC,           §
                                    §
        Defendants.                 §

                                 ORDER SETTING HEARING

        Hearing is set on the Motion to Reconsider (ECF No. 349) at 9:30 a.m. p.m. on December
16, 2024, in Courtroom 403, United States Courthouse, 515 Rusk St., Houston, Texas. The
response deadline is 5:00 p.m. on December 10, 2024. Requested relief that is unopposed by
written response prior to the response deadline may be ruled on without the necessity of a hearing.
The Court may grant or deny any relief sought in any motion/application or objection without
hearing based on responsive pleadings. The movant shall serve a copy of this order on all affected
parties within 24 hours and file a certificate of service; or file and serve a hearing notice within 24
hours, which must include the response deadline.

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      Parties should reference the Court’s website for in person hearing requirements and
connection instructions for virtual appearances.1

           SO ORDERED.


            SIGNED 12/02/2024


                                                             ___________________________________
                                                             Jeffrey Norman
                                                             United States Bankruptcy Judge




1
    https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-norman

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